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                                                                                   U.S. DISTRICT COURT
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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA



            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA

CARRIE JEAN HIJFFMAN, AS
PERSONAL REPRESENTATIVE
OF THE ESTATE OF TERRY
TERRELL PETTIWAY,
DECEASED,

     Plaintiff,
                                   Civ. A. No.: 4:20-cv-01293-CLM
V.

                                   JURY TRIAL DEMANDED
JEFFERSON DUNN; GRANTT
CULLIVER; EDWARD
ELLINGTON; KARLA JONES;
DEWAYNE ESTES;
GWENDOLYN GIVENS;
ANTHONY BROOKS; CEDRIC
SPECKS; KEVIN WHITE; GARY
MALONE; RUSSELL JONES;
PHILLIP DIXON; RAFAEL
SANTA-MARIA; UNKNOWN
SHIFT COMMANDERS; and
UNKNOWN CORRECTIONAL
OFFICERS,

     Defendants.



                   FIRST AMENDED COMPLAINT




                                                                           EXHIBIT

                                                                              2.
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       Plaintiff Carrie Jean Huffman, as personal representative of the Estate of

Decedent Terry Terrell Pettiway, by her attorneys Sidley Austin LLP and White

Arnold & Dowd P.C., brings this civil rights action pursuant to 42 U.S.C. §1983

arising from the death of Terry T. Pettiway at St. Clair Correctional Facility and

states as follows:

                                INTRODUCTION

       1.    The Eighth Amendment to the United States Constitution prohibits the

infliction of cruel and unusual punishments. This bedrock civil right enshrined in the

Bill of Rights protects all Americans, and most fundamentally confers on those

persons who are incarcerated the right to be free from known and unreasonable risk

of serious harm while in custody. Terry Terrell Pettiway, a29-year-old prisoner at

the notoriously violent and unsafe St. Clair Correctional Facility (the "St. Clair

Prison" or "St. Clair" or "Prison"), was denied this most basic constitutional and

human right, when, on September 2, 2018, he was murdered by another inmate or

inmates outside aprison housing block after attempting to break up afight. Mr.

Pettiway was repeatedly stabbed in the back and neck and left to bleed out while the

housing block and the common areas around it were effectively left completely

unattended by prison staff.   No Prison personnel intervened either to prevent the

altercation or provide medical assistance after the stabbing. Mr. Pettiway was left to

rely on fellow prisoners for help, who attempted to administer CPR and transport him

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to the prison command station. Sadly, their efforts were unsuccessful. At the time

of the assault on and murder of Mr. Pettiway, the history of murder, rape, and other

assaults at St. Clair, the easy availability of weapons among prisoners at St. Clair, the

climate of expected violence at that facility, and the utter failure of the Alabama

Department of Corrections, and each and every Defendant in this case to address

these horrific conditions and to provide adequate staffmg and security at St. Clair all

were well known by each and every Defendant in this case. And still, despite this

awareness, each and every Defendant in this case took inadequate actions or failed to

act altogether, in deliberate, heartless, cruel, and tragic indifference to their

obligations as protectors of Mr. Pettiway consistent with his rights under the Eighth

Amendment.

       2.       Plaintiff Carrie Jean Huffman, as personal representative of Decedent

Terry Pettiway's estate, brings this action against Defendants for violation of her

son's rights under the Eighth and Fourteenth Amendments to the United States

Constitution.    Rather than fulfill their obligations to take reasonable measures to

protect Mr. Pettiway from violence at the hands of other St. Clair inmates, the

Defendants, acting under color of state law, instead enabled his murder, and, by their

reckless or intentional failures to take actions to reasonably protect Mr. Pettiway from

violence, deprived Mr. Pettiway of his most fundamental constitutional rights.

Moreover, Defendants deprived Mr. Pettiway of his right to receive medical care for
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aserious medical need under the Eighth Amendment after he suffered multiple stab

wounds at the hands of afellow prisoner. Plaintiff further brings this action for Mr.

Pettiway's wrongful death, pursuant to Section 6-5-410 of the Alabama Code.

Defendants had aduty to protect Mr. Pettiway from known and unreasonable risks of

hann, including, to say the least, homicide by another inmate. By utterly failing to

protect Mr. Pettiway from hann that was foreseeable in the nightmare that is St. Clair,

Defendants are liable for the criminal acts of the assailant or assailants who killed

Mr. Pettiway.

      3.     Mr. Pettiway's killing was not an anomaly.            It was just another

example of the rampant and systemic violence at St. Clair, where murders, rapes,

stabbings, and beatings have become routine. Mismanagement, understaffing, poor

leadership, overcrowding, inadequate security, and unsafe conditions have led to an

extraordinarily high homicide rate, weekly stabbings and assaults, and a culture

where violence is not adequately controlled or prevented by those in positions of

authority who are entrusted with ensuring prisoner safety.

      4.     At the time of Mr. Pettiway's murder, these treacherous conditions were

notorious and well known to each and every Defendant in this case.          St. Clair's

culture of extreme and commonplace violence, mismanagement and understaffing

had been well documented in court documents, in detailed and repeated reports in the

media, including media local to St. Clair, and in reports by non-profit organizations.
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In addition, this horrific history and these intolerable conditions at St. Clair and other

Alabama prisons triggered an investigation by the United States Department of

Justice in 2016, and the DOJ's resulting report, issued following Mr. Pettiway's

murder in 2018, was scathing and damning of the failures of ADOC and its hierarchy

in administering prisons in Alabama, including St. Clair. On information and belief

based on their respective positions, responsibilities, and experience, each and every

Defendant in this case was aware of the horrific and shocking circumstances

recounted chapter and verse in the DOJ report.

      5.     Instead of taking any actions that could have protected prisoners such

as Mr. Pettiway and thereby prevented Mr. Pettiway's murder, Defendants did

nothing, resulting in asituation on the day of Mr. Pettiway's death where asingle

prison guard was responsible for supervising the general population yard (the

"Yard"), which was open to every inmate from eight separate cell blocks.

Unsurprisingly, when, on information and belief, that single guard was distracted

by an incident elsewhere, he was unaware that an altercation between two inmates

had broken out near the Yard, which Mr. Pettiway attempted to break up. When

tensions escalated and Mr. Pettiway was stabbed fourteen to seventeen times, the

guards were nowhere to be found.

      6.     Each and every Defendant knew of the widespread history of excessive

risk of inmate-on-inmate violence at St. Clair, which left Mr. Pettiway in substantial
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danger of serious harm. Despite this personal knowledge, each and every Defendant

took no action   -   either at apolicy level or at the prison on the day of the murder   -




to minimize the severe staffing shortages, availability of weapons, and culture of

violence that caused Mr. Pettiway's untimely death.

      7.     Accordingly, Plaintiff brings this action on behalf of Mr. Pettiway's

estate seeking compensation to redress Defendants' deliberate indifference to the

serious risk of harm to Mr. Pettiway's safety and deliberate indifference to Mr.

Pettiway's serious need for medical care, which violated his Eighth Amendment

rights under the U.S. Constitution, and for his wrongful death under Section 6-5-

410 of the Alabama Code.

                                        PARTIES

      S.     Plaintiff Carrie Jean Huffman          is the duly appointed Personal

Representative of the estate of Decedent Terry Pettiway, by the Probate Court of St.

Clair County, Alabama. Mr. Pettiway was incarcerated at St. Clair Prison for a

parole violation from September 2017 until the time of his death.

      9.     Defendant Jefferson Dunn was the Commissioner of the Alabama

Department of Corrections ("ADOC") at the time of Mr. Pettiway's murder and is a

resident of the State of Alabama.




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       10.   Defendant Grantt Culliver was the Associate Commissioner for

Operations for the ADOC at the time of Mr. Pettiway's murder and is aresident of

the State of Alabama.

      11.    Defendant Edward Ellington was the Instructional Coordinator for the

Northern Region of the ADOC at the time of Mr. Pettiway's murder and is aresident

of the State of Alabama.

      12.    Collectively, Defendants Dunn, Culliver, and Ellington are referred to

as the "Defendant Administrative Supervisors."

      13.    Defendant Karla Jones was the Head Warden at St. Clair at the time of

Mr. Pettiway's murder and is aresident of the State of Alabama.

      14.    Defendant Dewayne Estes was the Head Warden at St. Clair from

approximately March 2015 until May 2018 and is aresident of the State of Alabama.

      15.    Defendant Anthony Brooks was employed by the ADOC as Assistant

Warden of the St. Clair Prison at the time of Mr. Pettiway's murder and is aresident

of the State of Alabama.

      16.    Defendant Gwendolyn Givens was employed by the ADOC as

Assistant Warden at St. Clair Prison at the time of Mr. Pettiway's murder and is a

resident of the State of Alabama.




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       17.    Defendant Cedric Specks was employed by the ADOC as Assistant

Warden of the St. Clair Prison until May 2018 and is aresident of the State of

Alabama.

       18.    Defendant Kevin White was employed by the ADOC as aCaptain at

St. Clair Prison at the time of Mr. Pettiway's murder and is aresident of the State

of Alabama

       19.    Defendant Gary Malone was employed by the ADOC as aCaptain at

St. Clair Prison at the time of Mr. Pettiway's murder and is aresident of the State

of Alabama.

      20.     Defendant Russell Jones was employed by the ADOC as aLieutenant

at St. Clair Prison at the time of Mr. Pettiway's murder and is aresident of the State

of Alabama. Upon information and belief, Defendant Russell Jones was the on-

duty Shift Commander at the time Mr. Pettiway was attacked.

      21.     Defendant Phillip Dixon was employed by the ADOC as aSergeant at

St. Clair Prison at the time of Mr. Pettiway's murder and is aresident of the State

of Alabama. Upon information and belief, Defendant Dixon was on duty at the time

Mr. Pettiway was attacked.

      22.     Defendant Rafael Santa-Maria was employed by the ADOC as a

Sergeant at St. Clair Prison at the time of Mr. Pettiway's murder and is aresident



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of the State of Alabama. Upon information and belief; Defendant Santa-Maria was

on duty at the time Mr. Pettiway was attacked.

      23.    Each of Defendants Unknown           Shift Commanders was a shift

commander on duly in the LIM and P/Q Blocks at the St. Clair Prison on the date

of Mr. Pettiway's murder on September 2, 2018.

      24.    Plaintiff refers collectively to Defendants Karla Jones, Estes, Givens,

Brooks, Specks, White, Malone, Russell Jones, Dixon, Santa-Maria and Unknown

Shift Commanders as "Defendant Prison Supervisors." Plaintiff asserts each and

every allegation relating to "Defendant Prison Supervisors" individually as to each

such Defendant included in such definition, and such pleading referring to such

defined Defendants is for convenience and economy only and the avoidance of

repetition, and is not intended to constitute group pleading.

      25.    Defendants Unknown Correctional Officers were correctional officers

at the St. Clair Prison at the time of the events at issue in Plaintiff's Complaint.

Defendants Unknown Correctional Officers were responsible for supervising and

monitoring Mr. Pettiway's housing unit and the areas where these events took place

at the St. Clair Prison on September 2, 2018.

      26.    Plaintiff refers collectively to Defendants Dunn, Culliver, Ellington,

Karla Jones, Estes, Givens, Brooks, Specks, White, Malone, Russell Jones, Dixon,

Santa-Maria, Unknown Shift Commanders, and Unknown Correctional Officers as
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"Defendants." Plaintiff asserts each and every allegation relating to "Defendants"

individually as to each such Defendant included in such definition, and such

pleading referring to such defined Defendants is for convenience and economy only

and the avoidance of repetition.

      27.    Plaintiff sues each of the Defendants in his or her individual capacity

unless otherwise noted. Each of the Defendants acted under color of state law when

engaging in the misconduct described herein.

                         JURISDICTION AND VENUE

      28.    This Court has subject-matter jurisdiction over this action under 28

U.S.C. §1331 and 28 U.S.C. §1343(a)(3) because this action is brought under 42

U.S.C. §1983, seeking damages for Defendants' violations of the constitutional

rights of Decedent Terry Terrell Pettiway. This Court has jurisdiction over

Plaintiffs state law claims pursuant to 28 U.S.C. §1367(a).

      29.    Venue appropriately lies in this judicial district under 28 U.S.C.

§1391(b)(2) because asubstantial part of the events and omissions giving rise to

the claims presented in this case occurred in the Northern District of Alabama.




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                          FACTUAL ALLEGATIONS

A.    Decedent Terry Terre!! Pettiway

      30.    Terry Terrell Pettiway was born on July 25, 1989, in Montgomery,

Alabama, to Carrie Jean Huffthan, the Administrator of his estate and the Plaintiff

in this case concerning the murder of her son while incarcerated at St. Clair.

      31.    Growing up, Mr. Pettiway attended Branch Grove Baptist Church with

his mother. He attended school through the 10th grade.

      32.    Mr. Pettiway was the father of three young children. At the time of his

death at St. Clair, Mr. Pettiway was father to Terriana, now age 12, Aiden, now age

4, and Ja'Tenica, now age 2. Family members describe Mr. Pettiway as agood

father and someone who was always willing to help others.



      33.    In 2017, Mr. Pettiway was arrested while on probation and ordered to

serve the remainder of his original sentence in prison.

      34.    Upon information and belief, despite Mr. Pettiway's low level custody

designation, he was assigned to serve his sentence at St. Clair, which is a"close

custody" facility, the highest possible custody level for aprisoner in the ADOC

system, reserved for the most dangerous and violent inmates.
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      35.    Moreover, at St. Clair, Mr. Pettiway was assigned to the Qhousing

block, which is designated for particularly violent and hostile inmates who pose a

heightened risk of behavioral problems.

      36.    At the time of his death while incarcerated at St. Clair, Mr. Pettiway

was amere two weeks away from parole eligibility.

      37.    At the time of his death while incarcerated at St. Clair, Mr. Pettiway

and his brother Terrance were looking forward to working together to build a

trucking business following his release.         Mr. Pettiway was looking forward to

getting his post-prison life on agood and law-abiding path.

B.    While Attempting to Intervene in an Altercation, Mr. Pettiway Was
      Stabbed Repeatedly Outside the Unsupervised P/Q Housing Block at
      St. Clair Prison, and Left to Die with No Prison Staff at Hand.

      38.    The factual allegations in Paragraphs 39 through 49 are based upon

Plaintiff's information and belief

      39.    On the afternoon of September 2, 2018, Mr. Pettiway witnessed averbal

altercation between two inmates in the area just outside the P/Q cell block's entrance

to the Yard. This argument was the continuation of abroader conflict between rival

gang members that had been escalating over the course of the day.

      40.    Despite the increasing tensions amongst the prison population, there

were only atotal of four guards assigned to monitor the P/Q cell block and the Yard.

A "cubicle officer," aguard stationed in aprotected office tasked with observing

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prisoner movements via line of sight and inoperative cameras, was assigned to

monitor the approximately 96 inmates in the Qblock and another was assigned to

monitor the 96 inmates in the P block; another "rover" guard was responsible for

monitoring approximately 192 inmates in both the P and Qblocks; and finally, a

single officer was assigned to patrol the entire Yard, which sits in the middle of the

eight general population blocks and can be accessed by more than 750 general

population inmates.

      41.    However, at the time this argument broke out, the officer assigned to

the Yard, Defendant Unknown Correctional Officer, had been occupied responding

to another incident in adifferent area. As aresult, the Yard was left unsupervised

with no one to address the escalating situation outside the P/Q housing unit.

Meanwhile, the "cubicle officers," Defendant Unknown Correctional Officers, could

not see the altercation from their posts, and the roving officer, Defendant Unknown

Correctional Officer, was not in the vicinity.

      42.    With no St. Clair personnel present to address the altercation, Mr.

Pettiway attempted to intervene in the altercation outside the P/Q block in the hopes

of de-escalating the situation.    However, his attempt to mediate resulted in a

disagreement between himself and another inmate who is suspected to be Gerard

Pruitt. Mr. Pruitt has been indicted by aGrand Jury for Mr. Pettiway's death and is

scheduled to be tried in January 2021.
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      43.    As the argument between Mr. Pettiway and Pruitt continued to escalate,

alarge group of inmates began to gather around the two men, suspecting that the

altercation would soon turn violent. Still, none of the St. Clair prison staff, including

Defendant Unknown Correctional Officers, intervened or were present.

      44.    Ultimately, the argument between Mr. Pettiway and Pruitt became

violent. Pruitt and/or one or more additional assailants stabbed Mr. Pettiway fourteen

to seventeen times in his back and neck. Mr. Pettiway was not the aggressor in the

altercation and was attempting to walk away when he was stabbed in the back.

      45.     Mr. Pettiway was left bleeding out on the porch. Still, no prison guard

responded. In fact, instead of St. Clair personnel, it was fellow inmates who took it

upon themselves to try to save Mr. Pettiway. Seeing Mr. Pettiway's grave condition

and that no help was coming, the inmates placed Mr. Pettiway on agarbage cart and

wheeled him toward the prison command station.

      46.    At least 10 minutes after Mr. Pettiway had been wounded, Defendant

Unknown Correctional Officer finally responded.            Once Unknown Correctional

Officer arrived, he accompanied the large group of inmates transporting Mr.

Pettiway to the command station on the garbage cart.

      47.    Once at the command station, upon information and belief, Unknown

Correctional Officer refused to attend to Mr. Pettiway's injuries. Instead, fellow



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inmates attempted to treat Mr. Pettiway by dressing his wounds and administering

CPR.

       48.   At some point thereafter, Defendant Dixon and another officer,

Defendant Unknown Correctional Officer, arrived, who, upon information and

belief, also refused to provide Mr. Pettiway medical attention.         Mr. Pettiway's

injuries were too severe to be addressed at the Prison, and the officers arranged for

Mr. Pettiway to be taken to ahospital.

       49.   Mr. Pettiway was pronounced dead at St. Vincent's East Hospital at

6:32 pm. Plaintiff and her family members were notified of her son's death by other

inmates at St. Clair, not by Prison personnel.

       50.   Additional information concerning the circumstances surrounding the

assault and murder of Mr. Pettiway while incarcerated at St. Clair Prison and under

the care of the Defendants is uniquely in the possession of the Defendants and

others, including any internal investigative report, notes, emails, communications

and other records that Defendants and non-parties will be required to disclose in

discovery. Tragically, Mr. Pettiway died at St. Clair, and is lost to Plaintiff and her

family except in loving memory. Neither Plaintiff nor her counsel can speak with

Mr. Pettiway for those additional details that will await discovery and proof at trial.

       51.   On the other hand, as set forth at length below, it is crystal clear that

inmate-on-inmate violence and the prevalence of weapons and contraband among
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prisoners at St. Clair Prison were widespread, well documented, and widely

publicized, and that St. Clair Prison suffered widespread and chronic critical

staffing shortages, broken locks, blind spots, and deficiencies in inmate supervision

and search policies and procedures meant to protect inmates. The evidence likewise

is overwhelming that, by reason of their respective positions, responsibilities, and

experience, each and every Defendant was aware of these horrific conditions and

chronic failures, and was aware of his or her duty to take reasonable steps to keep

inmates safe from violence, and thus that each and every Defendant individually

failed to do his or her job to comport with Mr. Pettiway's constitutional right to be

protected against cruel and unusual punishment. For these Defendants' callous and

deliberate indifference, Mr. Pettiway paid the ultimate price, with his life.

C.    There is aWidespread History of Abuse at St. Clair.

      52.        As the facts below demonstrate, Mr. Pettiway and his fellow prisoners

effectively lived in awar zone where violence and the threat of serious injury were

constant.

            i.         There is awell-documented history of rampant inmate-on-
                       inmate at the Prison.

      53.        Deadly interactions between inmates such as the one that took Mr.

Pettiway's life are not the exception at St. Clair.        They have been the well-

documented norm for years. Each and every Defendant was aware of the shocking


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and intolerable conditions at St. Clair at the time of the assault and murder of Mr.

Pettiway.

      54.    As the United States Department of Justice (the "DOJ") has noted, in

2019, just 6 months after Mr. Pettiway's murder, Defendant Dunn admitted that

"that the current level of violence [in Alabama prisons] is 'unacceptably high." As

Defendant Dunn acknowledged even earlier, in 2017, and as The New York Times

reported, it "wo[uldn't] be long until [Alabama prisons were] the most understaffed

and most violent."

      55.    Defendant Culliver testified at deposition (Culliver Tr. 298:11-18) in

2016 in Duke v. Dunn, 4:14-CV-1952-VEH (the "Duke Litigation") that "St. Clair

is on the radar, particularly because of the number of incidents that we have, the

amount of violence that we have there   .   .   .




      56.    Nationally-recognized corrections expert Steve J. Martin examined the

conditions at the St. Clair Prison and opined in a2016 expert report in the Duke

Litigation: "The frequency of assaults resulting in life-threatening injuries is quite

simply among the highest Ihave observed in my 43-year career in corrections."

Each of the defendants in the Duke Litigation who also is aDefendant herein was

aware of Mr. Martin's report and, on information and belief based on their

respective positions, responsibilities, and experience, each and every Defendant



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herein was aware of that report and the circumstances described therein at the time

of Mr. Pettiway's assault and murder.

      57.    In 2016, the DOJ initiated aCivil Rights of Institutionalized Persons

Act ("CRIPA") investigation of Alabama prisons. In April 2019, the DOJ released

its findings from that investigation (the "2019 DOJ Report"), in which it concluded

that, between 2016 and 2018, which includes the time period Mr. Pettiway was

housed and killed in St. Clair Prison, violence and crime were so pervasive and

extreme, and mismanagement was so egregious at Alabama prisons, including St.

Clair, that there was "reasonable cause to believe ....the conditions in Alabama's

prisons for men violate the Eighth Amendment of the U.S. Constitution."

      58.    In particular, the DOJ found that "[t]he conditions in Alabama's

prisons are objectively unsafe, as evidenced by the high rate of prisoner-on-prisoner

homicides   and   violence,   including       sexual   abuse,"   and that understaffing,

overcrowding, corruption, and the prevalence of contraband in Alabama prisons all

lead to the finding that "ADOC fails to protect prisoners from serious harm and a

substantial risk of serious harm."

      59.    The conditions at St. Clair leading up to and at the time of Mr.

Pettiway's murder are not only consistent with the DOJ's conclusions, but are

clearly some of the worst in the ADOC prison system, leading to awell-documented

label, discussed further below, as one of the most dangerous prisons in America, as
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reported in publications such as The New York Times, Vice, Mother Jones, and

Splinter.

      60.    Since 2010, reported assaults at the St. Clair Prison have increased

dramatically. Based on the ADOC's own statistics, in 2010, imnates reported 28

assaults; in 2011, 57 assaults; in 2012, 90 assaults; in 2013, 101 assaults; in 2014,

111 assaults; in 2015, 172 assaults; and in 2016, 240 assaults (marking an almost

ten-fold increase in the number of reported assaults over aperiod of six years). By

September 2018, inmates had reported a total of 122 assaults for the first nine

months of that calendar year.

      61.    Among the 35 prisoner homicides committed in Alabama prisons

between 2013 and 2018, 9occurred in St. Clair.

      62.    In 2014, the Equal Justice Initiative ("EJI") reported that the homicide

rate for the St. Clair Prison was approximately 232.4 per 100,000 inmates. This

represented ahomicide rate 33 times higher than the national homicide rate for state

prisons in 2014 of approximately seven homicides per 100,000 inmates, as reported

by the U.S Bureau of Justice Statistics. In 2018, the year of Mr. Pettiway's murder,

the homicide rate at St. Clair increased to approximately 418 homicides per 100,000

incarcerated people, which is more than 50 times higher than the reported national

average for state prisons in 2016—the most recent year for which this figure has

been calculated—of 8homicides per 100,000 prisoners. On information and belief,
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based on their respective positions, responsibilities, and experience, each and every

Defendant was aware of EJI's analysis and the circumstances described therein at

the time of Mr. Pettiway's assault and murder.

      63.    The ADOC prepares and releases its own statistics and information

concerning, among other things, violence at St. Clair, of which, on information and

belief, based on their respective positions, responsibilities, and experience, each and

every was aware at the time of Mr. Pettiway's assault and murder, as well as the

circumstances underlying such statistics as they related to St. Clair Prison.

According to the ADOC 'sown statistical report September 2018 alone, the month

Mr. Pettiway was murdered, there was an additional inmate-on-inmate homicide,

11 assaults involving inmates and/or staff; and aprisoner suicide. By the end of

September 2018, the Associated Press reported that St. Clair accounted for half of

the year-to-date homicides occurring in the ADOC system.

      64.    In October 2014, EJI filed aclass action lawsuit on behalf of inmates

at the St. Clair Prison, seeking injunctive relief to reduce the ongoing violence at

the St. Clair Prison, Duke v. Dunn, 4:14-CV-1952-VEH (N.D. Ala.).

      65.    The Duke Complaint, as amended, described the policies and practices

fueling the outbreak of violence at the St. Clair Prison, including the failure of

Defendant Administrative Supervisors and Defendant Prison Supervisors to address

the widespread proliferation of contraband weapons at St. Clair. The lawsuit also
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recounted the creation of adangerous culture of violence and abuse, the failure to

appropriately respond to violence and rape, and inadequate staffing, supervision,

and monitoring of St. Clair.

            ii.         St. Clair inmates      have ready access to weapons             and
                        contraband.

      66.         In 2017, The New York Times reported that the estimated percentage

of inmates at St. Clair that are armed with some kind of weapon "run from well over

half to just about everyone." On information and belief, based on their respective

positions, responsibilities, and experience, each and every Defendant was aware of

the report in The New York Times and the circumstances described therein at the

time of Mr. Pettiway's assault and murder.

      67.         In a January 2017 report in the Montgomery Advertiser, former St.

Clair correctional officer Jonathan Truitt was quoted as stating that weapon

contraband was "out of control" and that inmates were "assaulted in every way

imaginable." Truitt noted that asingle 24-person cell block at the St. Clair Prison

could contain "30 to 40" contraband knives.             Between 2015 and 2017, Prison

personnel found ammunition and firearms at least three times at the St. Clair Prison.

On information and belief, based on their respective positions, responsibilities, and

experience, each and every Defendant was aware of the report in the Montgomery

Advertiser and the circumstances described therein at the time of Mr. Pettiway's


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assault and murder. Moreover, as the 2019 DOJ Report noted, aweapon that was

essentially asmall sword was recovered at St. Clair in 2017.

      68.    Knives and other prison-made weapons were and are common

throughout the St. Clair Prison and, upon information and belief, have been used in

approximately    150   murders   and    assaults      at    St.   Clair Prison   since 2015,

circumstances of which each and every Defendant, on information and belief based

on their respective positions, responsibilities, and experience, was aware at the time

of Mr. Pettiway's assault and murder.

      69.    At the time of Mr. Pettiway's murder, it was common knowledge

among staff at the St. Clair Prison that the inmate population was heavily armed,

and that some Prison personnel actually encouraged inmates to obtain and use

weapons.     On information and belief, based on their respective positions,

responsibilities, and experience, each and every Defendant was aware of these

circumstances at the time of Mr. Pettiway's assault and murder.


             a. For example, WBRC Fox 6 in Birmingham reported that Prison

                 personnel sold two St. Clair inmates hacksaw blades, bolt cutters,

                 and ahandgun that they then used to escape in 2017.


             b. Similarly, an inmate who was later stabbed repeatedly by another

                 inmate, Michael McGregor, alleged in his complaint against many

                 of the same defendants named in this action that "[w]hen [he]
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                 arrived at St. Clair, a correctional officer immediately told him

                 about the rampant violence at St. Clair and advised him that he

                would need aknife."


             c. St. Clair inmate Robert Woods was reassigned by an officer to a

                violent block where he was vulnerable because of his advanced age

                 at the time and physical disability. When he expressed fear for his

                 safety to the officer, the officer responded that he would get Mr.

                Woods aknife if he did not already have one. When Mr. Woods

                later requested again to be moved from the block after he was the

                victim of a theft, the officer responded by placing several box

                cutters on atable and telling Mr. Woods to make aknife to protect

                himself.

      70.   One former correctional officer, David Ellis, recalled to aWBRC Fox

6(Birmingham) reporter seeing knives made out of vent slats, ice picks sharpened

from copper plumbing rods, and homemade zip guns fashioned with a wooden

block, anail, rubber bands, and abullet.

      71.   Mr. Ellis recalled further to WBRC Fox 6, an encounter with an inmate

carrying asword inside the St. Clair Prison in 2017. Mr. Ellis stepped into the G-

Gate "guard shack," and two minutes later an inmate was standing outside pointing

a sword toward Mr. Ellis's chest.     On information and belief, based on their
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respective positions, responsibilities, and experience, each and every Defendant was

aware of the WBRC report and the circumstances described therein.

      72.          Each of the foregoing facts is publicly available and each Defendant

was personally aware of the substantial risk of violence inmates faced each day just

by being incarcerated at St. Clair Prison due to the proliferation of weapons and lack

of supervision. Nevertheless, each Defendant deliberately failed to take reasonable

steps to address and reduce the risk of violence.




            iii.         St. Clair has been plagued by critical staffing shortages,
                         broken locks, blindspots and deficiencies in inmate
                         supervision and search policies and procedures meant to
                         protect inmates.

      73.          As documented in the 2019 DOJ Report, and as already known by each

and every Defendant, the St. Clair Prison was dangerously understaffed at the time

of Mr. Pettiway's murder.

      74.          The 2019 DOJ Report noted that, as of June 2018 —just three months

prior to Mr. Pettiway's murder—St. Clair Prison employed a mere 28% of its

authorized correctional officers, which posed asevere understaffing problem. As

alleged above, on information and belief, based on their respective positions,




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responsibilities, and experience, each and every Defendant was aware of the

historical and continuing circumstances described in the DOJ Report.

      75.    By way of example, Defendant Culliver testified at deposition in 2016

in the Duke Litigation (Culliver Tr. at 114:6-8) that, at St. Clair, "The staffing is

short; the staffing is less than desirable; we need to augment this staffing."

      76.    Because    of this   severe    understaffing,    the     limited   number   of

correctional officers employed at the St. Clair Prison were overworked.

      77.     For example, ABC 33/40 of Birmingham reported that one St. Clair

captain worked so much overtime that he received the most overtime pay of any

Alabama state employee for four consecutive years. In 2017, that captain made a

total of almost $121,000, nearly as much as the Governor of Alabama's salary. The

officer's base salary was approximately $38,000.

      78.    The chronic understaffing, and the overworking of that staff, at St.

Clair Prison interfered with critical security functions, including monitoring of

inmates and conducting regular prison-wide searches for contraband, circumstances

of which each and every Defendant was aware.

      79.    The general population housing units at St. Clair generally house

approximately 96 inmates, with asingle correctional officer assigned to supervise

the entire block from aprotected "cubicle." This "cube," which has windows that



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give the officer limited sight lines into both sides of the block, leaves much of the

block and the Yard outside of the officer's vision.

       80.    Upon information and belief; although St. Clair has installed cameras

to cover the areas that cannot be seen from the cube, those cameras rarely if ever

are operational due to malfunction and/or damage intentionally inflicted by

prisoners.

       81.    Normally, an officer is also assigned as a"rover" to patrol the housing

blocks. However, because of adangerous level of understaffing at the St. Clair

Prison, rover officers are often pulled away from patrolling in order to escort

inmates and to serve in other capacities.

       82.    The correctional officer stationed in the "cube" typically was the only

officer monitoring Mr. Pettiway's housing unit. These officers were at times absent,

asleep, or otherwise not paying attention to the inmates they were monitoring. For

example, Defendant Culliver testified at deposition in the Duke Litigation (Culliver

Tr. at 160:17-22) that searches of inmates' cells are "not being conducted every day

     Ididn't do the cell searches the day that Iworked." Defendant Culliver further

testified (Culliver Tr. at 162:6-17), "It's very important for us to do the searches.

It's also difficult for us to do searches   --   it's difficult for us to do searches when our

staffing situations are challenged." And Defendant Culliver testified (Culliver Tr.



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at 166:19 to 167:6) that "[for my comfort level, that [amount of searching] would

not be adequate."

      83.    Defendant     Administrative        Supervisors   and    Defendant       Prison

Supervisors are well aware of the understaffing at St. Clair Prison, and were so

aware at the time of Mr. Pettiway's death. As reported by The New York Times in

2017, before Mr. Pettiway's murder Defendant Dunn acknowledged, at St. Clair

and other prisons, "[T]he fundamental, systemic problem is acombination of lack

of staff and overcrowding."

      84.    The 2019 DOJ Report described the acute awareness of Defendant

Dunn and the ADOC of the substantial risk of harm caused by dangerous level of

understaffing, stating the staffing at Alabama prisons was "at acrisis level." For

example, the Report cites Dunn's statement to the Alabama Legislature that "there

is adirect correlation between the shortage of officers in our prisons and the increase

in violence,"   and    acknowledgment that the          current   level   of violence     is

"unacceptably high."

      85.    Based on their respective positions, responsibilities, and experience,

each and every Defendant further knew about the St. Clair Prison's staff and security

deficiencies from the contemporaneous Duke Litigation, which addressed in detail

the broken locks, understaffing, blind spots, and the inadequate supervision of staff

at the St. Clair Prison. These failures contributed to numerous violent incidents at
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St. Clair Prison, many of which were stabbings that resulted in serious injury or

death, including the following examples detailed in the Duke Litigation:


             a. Upon information and belief, in June 2014, Derrick White, who

                lived in P block, was assaulted in the hallway between P and Q

                blocks during amovement time by aprisoner who was not assigned

                to either block. There were no officers present when Mr. White

                was      assaulted.   He was           strangled   and then   dragged     while

                unconscious into the showers in Q. He was in the showers from

                approximately 7:30 a.m. until 1p.m. and was never found by staff,

                despite the fact that, upon information and belief, a count was

                conducted during the time he was missing.


             b. In 2013, aprisoner was stabbed multiple times with an ice pick in

                the St. Clair gym that was left completely unsupervised by St. Clair

                staff.    Then, upon information and belief, in 2014, that same

                prisoner was attacked again by another inmate, resulting in a

                section of his ear being cut off.


             c. In March 2015, an inmate spent three nights in the infirmary,

                received 13 staples in his head and suffered acollapsed lung after

                being stabbed in the middle of the day in the Yard. Because no



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                      officers were present in the Yard, that inmate was forced to go into

                      the cell block and inform the cube officer before he received any

                      help.

       86.         Furthermore, based on their respective positions, responsibilities, and

experience, each and every Defendant knew of multiple security deficiencies that,

when coupled with understaffing, created a substantial risk of harm to inmates:

(a) faulty locking mechanisms on the majority of cell doors; (b) blind spots in the

housing areas due to limited sight lines; and (c) the lack of surveillance cameras and

mirrors.



             iv.         Prison personnel have a long history of engaging in or
                         encouraging violence, weapons, and contraband at St. Clair.

      87.          Each and every Defendant also perpetuated the culture of violence at

St. Clair described above by either engaging in violence themselves, tolerating and

condoning violence by staff members, failing to discipline prisoners for violent acts,

or refusing to discipline correctional officers for using excessive force against

prisoners. Upon information and belief, based on evidence in the Duke Litigation,

the following are illustrative examples of Defendants' wrongful conduct in this

respect:




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           a. In March 2014, after an inmate informed Captain Sanders that he

              was experiencing issues with another inmate, Sanders replied

              "you're abig dude; kill him or kill yourself"


           b. In October 2014, correctional officers beat one prisoner after

              Defendant Malone told them to "beat his ass" in response to a

              report that the prisoner had gotten into an altercation with another

              inmate.


           c. In September 2015, on the segregation yard, Defendant Malone

              struck an inmate with his flashlight more than ten times while the

              inmate's hands were handcuffed behind his back because the

              inmate did not get to the ground quickly enough when

              commanded, causing the inmate to bleed out of his head and

              rendering him unconscious.


           d. In July 2015, several officers assaulted an inmate in the C-2 block

              of segregation. The officers handcuffed the inmate with his hands

              behind his back, threw him to the ground, and kicked him. After

              not providing the inmate with medical treatment, the officers held

              him in atemporary holding cage outside the segregation unit for

              approximately eight hours.



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      88.    On July 23, 2020, the Department of Justice supplemented the 2019

DOJ Report with an additional report (the "2020 DOJ Excessive Force Report"),

which provided the DOJ's conclusions regarding the use of excessive force in

Alabama prisons in connection with its CRIPA investigation. In that report, the

DOJ concluded that the continual use of excessive force occurring within

Alabama's prisons gave rise to systemically unconstitutional conditions.

      89.    The 2020 DOJ Excessive Force Report provided ahorrifying picture

of abuse by prison staff on inmates, including at St. Clair.


              a. For example, in 2016, ahandcuffed prisoner was attacked by a

                 "mob of officers," and beaten with batons, punched and stomped

                 on over the objections of alieutenant and asergeant.


             b. The DOJ also detailed another example from May 2018, four

                 months before Mr. Pettiway was killed, where a St. Clair

                 corrections officer slapped an imnate, causing swelling to his face

                 and bruising around his eyes, merely for failing to put on clothing

                 when asked.

      90.    Multiple additional examples of violent acts by St. Clair personnel,

documented in the media and legal documents, demonstrate that the Defendants

were aware of, and even participated in, the violent culture that enabled Mr.

Pettiway's murder.
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      91.    In January 2019, for example, avideo posted on YouTube showed two

St. Clair guards, including a segregation unit supervisor, savagely beating a

mentally ill prisoner who had just told officers he was going to kill himself and

requested to see mental health staff. In response, as Unheard Voices OTCJ reported,

the supervisor's reprimand consisted of merely being transferred from the

segregation unit and instead assigned as asupervisor of the general population units.

      92.    Yet, as detailed above, instead of actually addressing threats or other

security issues faced by inmates, St. Clair personnel encouraged prisoners to ann

themselves with knives. Indeed, upon information and belief, prison staff have been

acentral source of weapons for inmates.

D.    Each Defendant was Subjectively Aware that the St. Clair Inmates
      Were at Substantial Risk of Serious Harm Due to Excessive Inmate-on-
      Inmate Violence.

      93.    Based on their respective positions, responsibilities, and experience,

each and every Defendant knew that the combination of these security deficiencies

gravely contributed to numerous violent incidents in the years preceding Mr.

Pettiway's murder. Each and every Defendant also knew that his or her failure to

adequately supervise inmates created a dangerous environment conducive for

inmates to assault and murder other inmates, such as the violent murder of Mr.

Pettiway.   Moreover, the lack of adequate staffing contributed to Defendants'



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failure to attend to Mr. Pettiway's serious need for medical attention after he was

stabbed.

      94.    The abuses detailed above have been so rampant over such a long

period of time, that, based upon information and belief, the substantial risk to the

prison population at St. Clair is obvious simply from being present in the prison.

      95.    Moreover, each and every Defendant has been exposed to objective

evidence of the systemic culture of violence at St. Clair. For example:


             a. Defendant Culliver testified at his deposition in the Duke

                 Litigation that he reviews monthly statistical reports from each

                 facility and investigative reports that detail violence and assaults at

                 St. Clair, and that incident reports, including those that involve

                 homicides,   are circulated to        officers, the Warden and the

                 Commissioner. (Culliver Tr. at 24:17 to 28:22).


             b. In June 2014, EJI sent aletter to the Commissioner of the Alabama

                 Department of Corrections requesting an immediate change in

                 leadership at St. Clair.    The letter alerted the Department of the

                 unacceptable level of violence and corruption at St. Clair, and

                warned that "further ignoring the situation will lead to serious and

                tragic outcomes."      On information and belief,based on their

                respective positions, responsibilities, and experience, each and
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                 every Defendant was aware of the 2014 ER letter and the

                 circumstances described therein.

      96.    Additionally, these abuses have been long-standing, pervasive, well-

documented in media reports, as to which, on information and belief based on their

respective positions, responsibilities, and experience, each and every Defendant was

aware of the circumstances described therein. For example:


             a. In 2014, Vice discussed the rampant violence, prevalence of

                weapons and contraband, and corruption St. Clair at length,

                 declaring St. Clair as "[o]ne of the most violent places in America."


             b. In 2017, the Montgomery Advertiser reported on the ADOC's

                 failures, focusing particularly on the understaffing, lack of inmate

                 supervision, availability of weapons and contraband and violence

                 at St. Clair.


             c. In 2017, the New York Times reported on the egregious conditions

                in St. Clair, noting that "[in recent years, even by the standards of

                one of the nation's most dysfunctional prison systems, St. Clair

                stood out for its violence."




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             d. 1n2019, Birmingham's WSFA12 News dubbed the ADOC prison

                  system "America's Most Violent Prison" based years of reporting

                  and described it as "a slaughterhouse."


             e. In 2019, Splinter reported on the conditions at St. Clair, stating that

                  it "has long been infamous for violence and despair."


             f. In 2019, Mother Jones published an article in which it stated that

                  "Alabama has one of the highest rates of prison deaths in the

                  country, and St. Clair in particular has long been known for its

                  brutality."

      97.   The excessive inmate-on-inmate violence and substantial risk of harm

at St. Clair has also been detailed in court documents. For example:


             a.   As the DOJ noted in its 2019 report, the Duke v. Dunn class action

                  lawsuit on behalf of inmates at the St. Clair Prison, seeking

                  injunctive relief to reduce the ongoing violence at the St. Clair

                  Prison, put the ADOC on notice of the substantial risk of serious

                  harm and abuses at St Clair, which ended in a2017 settlement in

                  which the ADOC made anumber of promises to remedy the harms

                  alleged here.    Moreover, that lawsuit named Carter, Dunn, and

                  Malone, all of whom are Defendants in the present case, as



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               defendants and each served in that lawsuit, and thus were

               individually aware of the information set forth in the complaint in

               that case.   On information and belief; based on their respective

               positions,   responsibilities,   and   experience,   each   and    every

               Defendant herein was aware of the Duke Litigation and the

               circumstances set forth therein, at the time of Mr. Pettiway's

               assault and murder.


            b. As mentioned above, nationally-recognized corrections expert

               Steve J. Martin issued an expert report in the Duke Litigation

               stating: "The frequency of assaults resulting in life-threatening

               injuries is quite simply among the highest Ihave observed in my

               43-year career in corrections." Each of the defendants in the Duke

               Litigation who also is a Defendant herein was aware of Mr.

               Martin's report and, on information and belief based on their

               respective positions, responsibilities, and experience, each and

               every Defendant herein was aware of that report and the

               circumstances described therein at the time of Mr. Pettiway's

               assault and murder.

      98.   The abuses at St. Clair have also been well-documented by the

Department of Justice in their 2019 and 2020 reports, both of which were sent
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directly to Defendants Dunn and Karla Jones, and, based on their respective

positions, responsibilities, and experience, each and every Defendant was aware of

the circumstances described therein. Specifically:


             a. The 2019 DOJ Report explicitly states that "ADOC has long been

                aware that conditions within its prisons present an objectively

                substantial risk to prisoners." The report goes on to note that the

                DOJ's investigation "into the violence, contraband, corruption, and

                harm occurring in Alabama's prisons evidences issues previously

                known to ADOC" and that "several years before [the DOJ]

                initiated [its] investigation, ADOC was acutely aware of extensive

                problems at St. Clair." Moreover, on information and belief, based

                on their respective positions, responsibilities, and experience,

                although the DOJ's findings were not released until 2019, each and

                every Defendant was aware that the DOJ was conducting aCRIPA

                investigation into the excessive violence at St. Clair when it began

                in 2016.


             b. Like the 2019 DOJ Report, although the DOJ's excessive force

                findings were not released until 2020, on information and belief,

                based      on   their   respective    positions,      responsibilities,   and

                experience, although the DOJ's findings were not released until
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                2019, each and every Defendant was aware that the DOJ was

                conducting aCRIPA investigation into the prevalence of excessive

                force at St. Clair when it began in 2016.

      99.   Finally, the widespread abuses at St. Clair, including systemic

violence, understaffing, and lack of supervision, have been explicitly acknowledged

by multiple Defendants. For example:


             a. As mentioned above, Defendant Dunn admitted in 2017 that it

                "wo[uldn't] be long until [Alabama prisons were] the most

                understaffed and most violent," and, in 2019, acknowledged that

                "the   current   level       of       violence   [in   Alabama   prisons]   is

                'unacceptably high."


             b. As mentioned above, Defendant Culliver testified during his 2016

                deposition in the Duke Litigation that, at St. Clair, "The staffing is

                short; the staffing is less than desirable; we need to augment this

                staffing" and that "St. Clair is on the radar, particularly because of

                the number of incidents that we have, the amount of violence that

                we have there.   .




             c. As mentioned above, Defendant Dunn admitted to The New York

                Times in 2017 that, at St. Clair and other prisons, "[T]he



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                   fundamental, systemic problem is acombination of lack of staff

                   and overcrowding."


              d. As     mentioned         above,    Defendant     Culliver          admitted      during

                   deposition testimony that searches of inmates' cells at the Prison

                   are "not being conducted every day             .   .   .   .   Ididn't do the cell

                   searches the day that Iworked," and also acknowledged that "It's

                   very important for us to do the searches. It's also difficult for us

                   to do searches   --   it's difficult for us to do searches when our staffing

                   situations are challenged."            And Defendant Culliver testified

                   (Culliver Tr. at 166:19 to 167:6) that "[for my comfort level, that

                   [amount of searching] would not be adequate."

       100.   Based on the litany of sources listed above, it is clear that each and

every Defendant was aware that St. Clair suffered from rampant and pervasive

inmate-on-inmate violence, which was exacerbated by the well-known and serious

deficiencies at the Prison.

       101.   By    reason    of their       respective    positions,         responsibilities,     and

experience, each and every Defendant was on notice, as aresult of longstanding,

clearly-established Eleventh Circuit case law, that the failure to implement

measures to address dangerous prison conditions where "inmate-on-inmate

violence occurred regularly" constitutes deliberate indifference to an inmate's
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constitutional right to be free from harm from other inmates.                      See, e.g., Hale v.

Tallapoosa Cnty., 50 F.3d 1579, 1581 (11th Cir. 1995); Marsh v. Butler Cnty., 268

F.3d 1014, 1028 (11th Cir. 2001) (en bane) (it is "clearly established in this Circuit

that it is an unreasonable response for an official to do nothing when confronted

with prison conditions     .   .   .   that pose arisk of serious physical harm to inmates.").

E.    Each of the Defendants Acted with Deliberate Indifference By Failing
      to Take Any Reasonable Action to Mitigate the Longstanding Abuses at
      St. Clair.

       102.   Despite knowledge that existing policies and practices were deficient

and created asubstantial risk of harm to inmates, each and every Defendant failed

to take any meaningful corrective action.

       103.   Tellingly,       in June         2016,    the     same month       Defendant   Culliver

acknowledged that staffing at St. Clair was "short," "less than desirable" and in

need of"augment[ing]," the ADOC's own report showed that only 111 correctional

officers were employed at St. Clair, which constituted 44% of its authorized

correctional officers at the time. As of September 30, 2018, the same month as Mr.

Pettiway's murder, a Quarterly Staffing Report showed that the number of

employed correctional officers had dropped to atotal of 83, a mere 28% of St.

Clair's authorized correctional officers. As stated above, on information and belief

based on their respective positions, responsibilities, and experience, each and every



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Defendant was aware of the ADOC's reports and the circumstances described

therein.

       104.   Indeed, as the 2019 DOJ report found, despite the ADOC's awareness

of the rampant violence in the ADOC prisons, including St. Clair,

"little has changed."

       105.   The evidence is overwhelming that each and every Defendant chose to

leave inmates, including Mr. Pettiway, exposed to acontinuing risk of serious harm

as aresult of chronic understaffing and deficiencies in policies and procedures to

protect inmates, exhibiting deliberate indifference to the safety of the inmates.

Defendants, and each of them, made their decisions to take no action or inadequate

action knowingly, and irresponsibly, and they must be held to account for those

actions, and inaction, including the circumstances that caused the assault and

murder of Mr. Pettiway.

F.    The Deliberate Indifference of Each Defendant Caused Mr. Pettiway's
      Murder.

      106.    Each Defendant was in a position to take actions that could have

prevented Mr. Pettiway's murder, but, through deliberate indifference, each

Defendant failed to do so.

      107.    Instead, and in spite of the Duke Litigation, the DOJ investigation,

multiple press reports, and continuous public scrutiny of St. Clair conditions, and


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their own personal observations of St. Clair conditions, each and every Defendant

failed to take reasonable, necessary, and appropriate steps to address the dangerous

conditions at St. Clair, with the result that violence at the prison continued to

escalate and culminated in the death of Mr. Pettiway.


              i.    Defendant Administrative Supervisors (Dunn, Culliver, and
                    Ellington)

       108.   Defendants     Dunn,     Culliver       and   Ellington    had    supervisory

responsibilities over the ADOC, including control over policies and practices

relating to St. Clair security, operations, staffing and training.

       109.   Defendant Dunn, as ADOC Commissioner, is the highest-ranking

official in the ADOC and was responsible for the direction, supervision, and control

of the ADOC.

       110.   Defendant Culliver, as Associate Commissioner for Operations, was

responsible for ensuring the effective and safe daily operations of prison facilities,

including overseeing institutional security, staffing, Institutional Coordinators,

Correctional Emergency Response Teams, the Classification Review Board, the

Training Division, and the Transfer Division.

       111.   Defendant Ellington, as Instructional Coordinator for the Northern

Region of the ADOC, was responsible for overseeing the St. Clair Prison Warden's

management of the Prison's operations, safety, and security.


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       112.   With knowledge of the extreme violence, mismanagement, and

understaffing that plagued St. Clair, each of Defendants Dunn, Culliver, and

Ellington could have implemented policies and practices to ensure adequate

staffing, adequate supervision, monitoring and training, curtail the widespread

availability of contraband weapons and dangerous housing assignments, and reduce

violence at St. Clair.

       113.   Instead, each of Defendants Dunn, Culliver, and Ellington fostered and

enabled the accumulation of weapons through at least the following procedures and

practices: (a) the encouragement of violence; (b) inadequate staffing; (c) inadequate

patrolling; (d) inadequate monitoring of St. Clair housing blocks; (e) inadequate

search procedures; (I) inappropriate responses when weapons were recovered; and

(g) failure to take corrective action in response to high rates of violence and assaults.

       114.   Specifically, each of Defendants Dunn, Culliver, and Ellington could

have and should have taken actions to ensure that inmates like Mr. Pettiway's killer

did not have access to weapons, that multiple guards were assigned to the PIQ and

L/M housing blocks and the Yard, that guards were not asleep while on duty, and

that additional guards would be near enough to defuse violent altercations that had

grown commonplace and subsequently administer any necessary medical aid. Any

one of those actions would have greatly diminished the likelihood of Mr. Pettiway's

murder. Accordingly, the deliberate indifference of the each of Defendants Dunn,
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Culliver, and Ellington to the well-documented issues at St. Clair caused the murder

of Mr. Pettiway.

                 ii.   Defendant Prison Supervisors (Karla Jones, Estes, Givens,
                       Brooks, Specks, White, Malone, Russell Jones, Dixon, Santa-
                       Maria, and Defendants Unknown Shift Commanders) and
                       Defendants Unknown Corrections Officers

          115.   Each of Defendants Karla Jones and Estes, as Wardens of the St. Clair

Prison, was responsible for the day-to-day operations of the Prison, the safety and

security of all inmates at the Prison, and the supervision of all subordinate

employees. Defendants Karla Jones' and Estes' responsibilities, when each served

as Warden, included ensuring adequate supervision and monitoring of inmates,

adequate classification of inmates, appropriate housing assignments for inmates,

adequate staffing levels, appropriate discipline and deterrence of inmate and staff

misconduct, adherence by staff to search protocols, adequate implementation of

internal security audits, and proper installation, repair, and maintenance of locks,

cameras, and other security devices necessary for safety and security.

      116.       Defendant Givens, as Assistant Warden of the St. Clair Prison, had

monitoring and oversight responsibilities at St. Clair that included the classification

and housing assignment process at St. Clair, investigations into inmate-on-inmate

assaults, and reviewing and approving all disciplinary and incident reports at the

prison.


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       117.    Defendants Brooks and Specks, as Assistant Wardens of St. Clair, had

oversight     responsibilities   at   St.   Clair       that   included   contraband   searches;

investigations     into   inmate      and   employee           misconduct;   reviews   of    such

investigations; oversight of innate movement, including to and from recreation; and

safety and security during certain shifts.

       118.    Defendants White and Malone, as Captains, were responsible for the

safety of all inmates at the prison and the supervision of all security activities and

subordinate employees. As aCaptain of General Population, Defendant Malone's

duties included authorizing all housing assignments at the St. Clair Prison.

      119.     Defendants Russell Jones, as Lieutenant, Dixon and Santa-Maria, as

Sergeants, and certain other individuals presently unknown to Plaintiff (the

"Unknown Shift Commanders" defined above) were responsible for staffing the

housing units where Mr. Pettiway was murdered; overseeing subordinates who

supervised Mr. Pettiway's housing unit; and ensuring that security checks were

completed in Mr. Pettiway's housing unit.

      120.     Mr. Pettiway was vulnerable to attack because of frequent violence at

St. Clair; the failure of certain individuals presently unknown to Plaintiff (the

"Unknown Correctional Officers" defined above) to monitor the housing units; and

the failure by the Defendant Prison Supervisors (as individually identified above)

to (a) install an intercom system, cameras, or mirrors to alert other officers about
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activities in the housing blocks, (b) adequately staff the Prison, and (c) institute and

enforce patrolling policies to combat the pervasive risk of violence inside the St.

Clair Prison.

       121.     The Defendant Prison Supervisors (i.e., each of Karla Jones, Estes,

Givens, Brooks, Specks, White, Malone, Russell Jones, Dixon, Santa-Maria, and

Defendants Unknown Shift Commanders) failed to sufficiently staff the prison;

failed to maintain adequate security cameras; failed to position correctional officers

such that they had adequate sight lines into each housing block and the Yard; and

failed to institute and enforce patrolling policies by assigning adequate numbers of

correctional officers to consistently patrol the housing blocks.

       122.     For example, security staff at St. Clair did not regularly conduct prison-

wide searches and other standard prison search protocols and procedures to root out

contraband.      Upon information and belief, Defendant Karla Jones chose not to

conduct any internal security audits of St. Clair's compliance with search protocols

and the level of safety at the institution.

       123.     Each of the Defendant Prison Supervisors also turned ablind eye to

noncompliance with search protocols at St. Clair.

       124.     Upon information and belief, when any of these Defendant Prison

Supervisors recovered weapons from inmates, they responded with indifference,

often declining to discipline inmates found with knives.
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       125.   After Defendant Dunn became the Commissioner, he failed to take

corrective actions to reduce the substantial risk of harm facing inmates at St. Clair.

He also failed to instruct Defendant Karla Jones to implement reforms to improve

safety following her appointment as Warden of the St. Clair Prison.

       126.   As with each of Defendant Administrative Supervisors identified

above and other Defendant Prison Supervisors identified above, Defendant Karla

Jones failed to take corrective action to improve safety at the St. Clair Prison.

       127.   In addition, on information and belief, certain correctional officers

whose identity presently is unknown to Plaintiff (the "Defendants Unknown

Correctional Officers" defined above) stationed in the vicinity of the Yard and Mr.

Pettiway's housing block on the day of Mr. Pettiway's murder either recklessly

failed to monitor the Yard and the housing block, or deliberately ignored the murder

while it was happening.

      128.    As aresult of the failures of each and every Defendant (each of the

"Defendant Administrative Supervisors" and "Defendant Prison Supervisors," as

defined above), upon information and belief,at the time of Mr. Pettiway's murder,

only one ADOC officer was responsible for monitoring the Yard, and that ADOC

officer was responding to a gang-related altercation in block L/M while Mr.

Pettiway was being murdered outside housing block P/Q. Upon information and

belief,as aresult, no officers were on hand to provide immediate medical care or
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summon additional assistance. Instead, Mr. Pettiway and agroup of prisoners were

left to fend for themselves after his stabbing.

                              CAUSES OF ACTION

                                COUNT ONE
    Violation of the Eighth Amendment to the United States Constitution,
  Applicable to the State of Alabama through the Due Process Clause of the
                  Fourteenth Amendment, and 42 U.S.C. §1983
                            (Against All Defendants)

       129.   Plaintiff incorporates by reference each and every allegation contained

in paragraphs 1-128 as if set forth fully herein.

       130.   Plaintiff, as the Personal Representative of the Estate of Decedent

Terry Terrell Pettiway, brings this claim against Defendants, each of whom

deprived Mr. Pettiway of the right to be free from known and unreasonable risk of

serious harm while in ADOC custody, in violation of the Eighth Amendment,

applicable to the State of Alabama through the Due Process Clause of the Fourteenth

Amendment.

      131.    Defendants, while acting under the color of state law, recklessly or

intentionally deprived Mr. Pettiway of his rights under the Eighth Amendment to

the United States Constitution, applicable to the State of Alabama through the Due

Process Clause of the Fourteenth Amendment. Defendants failed to take reasonable

measures to protect Mr. Pettiway from violence at the hands of other St. Clair Prison

imates.

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       132.    The prison conditions at St. Clair, specifically the normalized culture

of violence,    chronic understaffing, corruption, lack of inmate supervision,

inoperative locks, the presence of blind spots, and ready access to weapons and

contraband, posed asubstantial risk of serious harm to Mr. Pettiway.

       133.    This   substantial risk of inmate-on-inmate violence at          St.   Clair,

exacerbated by the additional conditions recounted in detail above, has been well-

documented and widely known for years, including in the years leading up to Mr.

Pettiway's death, as chronicled in a multitude of media reports, legal documents,

including prior lawsuits filed against multiple Defendants, sued here among others, and

multiple reports by the United States Department of Justice.         These circumstances

likewise are readily apparent to any individual present on the grounds of St. Clair, and

notably any individual whose misfortune it is to be incarcerated there.         Moreover,

individual Defendants and/or their subordinates have explicitly acknowledged the

substantial risk of harm at St. Clair both in the press and in sworn testimony.

       134.   Asa result of the rampant and pervasive nature of the violence at St. Clair

and the widespread and well-documented prevalence of contraband, weapons,

corruption, lack of supervision, blind spots and faulty locks, each Defendant was aware

of the substantial risk of serious harm facing each inmate at St. Clair.

       135.   Each Defendant consciously disregarded this substantial risk by failing to

respond in an objectively reasonable manner to reduce the risk of harm at St. Clair.
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       136.   Specifically,   and without limitation, each of Defendants Dunn,

Culliver, Ellington, Jones, Estes, Givens, Brooks, Specks, White, Malone, Jones,

Dixon, Santa-Maria, and each of the Unknown Shift Commanders, within the

respective authority of each as a supervisor, had knowledge and notice of the

widespread history of inmate-on-inmate violence, prevalence of contraband,

weapons, corruption, lack of supervision, blind spots and faulty locks at St. Clair.

       137.   With such knowledge and on such notice, each of Defendants Dunn,

Culliver, Ellington, Jones, Estes, Givens, Brooks, Specks, White, Malone, Jones,

Dixon, Santa-Maria, and each of the Unknown Shift Commanders, failed to take any

action reasonably calculated to correct or address these barbaric and inhumane

conditions.

       138.   Each of Defendants Dunn, Culliver, Ellington, Jones, Estes, Givens,

Brooks, Specks, White, Malone, Jones, Dixon, Santa-Maria, and each of the Unknown

Shift Commanders, failed to enact or follow reasonable policies and procedures

designed to provide adequate security and supervision; failing to properly staff the

St. Clair Prison with prudent and well-trained correctional officers; failed to address

known security deficiencies, such as lack of intercoms, operative security cameras,

and mirrors; and exacerbated the risk and condoned the conduct and conditions

creating this substantial risk of serious harm at St. Clair Prison.



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       139.   In addition, and despite having knowledge of the substantial risk of

serious harm posed by inmate-on-inmate violence at St. Clair, each of the Defendant

Unknown Correctional Officers (whose identity presently is unknown to Plaintiff)

stationed in the vicinity of the Yard and Mr. Pettiway's housing block on the day of

Mr. Pettiway's murder either recklessly failed to monitor the Yard and the housing

block, or deliberately ignored the murder while it was happening.

       140.   Each Defendant knew that, by his or her failure to act, St. Clair Prison's

dangerous conditions would be insufficient to provide Mr. Pettiway with reasonable

protection from violence as they knew they were required to provide.

       141.   In engaging in this unlawful conduct, each Defendant was not acting

within his or her discretionary authority, and his or her conduct violated the

Constitution and clearly established law, including Mr. Pettiway's constitutional

right to be protected from physical assault by other inmates and the right to

treatment for aserious medical need.

       142.   The clearly-established law setting forth the rights of Mr. Pettiway and

other individuals incarcerated in Alabama included, without limitation, binding

precedent of the Eleventh Circuit, e.g., Hale v. Tallapoosa Cnly., 50 F.3d 1579,

1581 (11th Cir. 1995); Marsh v. Butler Cn., 268 F.3d 1014, 1028 (11th Cir. 2001)

(en bane) (it is "clearly established in this Circuit that it is an unreasonable response



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for an official to do nothing when confronted with prison conditions.       .   .   that pose a

risk of serious physical harm to inmates.").

       143.   Each showed deliberate indifference through his or her reckless or

intentional failures to take any actions to safeguard Mr. Pettiway's rights, safety,

and well-being. The conduct of each Defendant was objectively unreasonable.

       144.   The conduct of each Defendant in violation of Mr. Pettiway's Eighth

Amendment rights caused Mr. Pettiway's death. Each and every Defendant was in

aposition to avert Mr. Pettiway's murder and, due to the deliberate indifference of

each Defendant, failed to do so.

       145.   Plaintiff seeks compensatory and punitive damages due to each

Defendant's deliberate indifference, in an amount to be determined by the jury,

together with interest, reasonable attorneys' fees, and the costs of this action.

                               COUNT TWO
   Violation of the Eighth Amendment to the United States Constitution,
 Applicable to the State of Alabama through the Due Process Clause of the
               Fourteenth Amendment, and 42 U.S.C. §1983
              Deliberate Indifference to Serious Medical Need
 (Against Defendant Dixon and Defendant Unknown Correctional Officers)

       146.   Plaintiff incorporates by reference each and every allegation contained

in paragraphs 1-128 as if set forth filly herein.

       147.   Plaintiff, as the Personal Representative of the Estate of Decedent

Terry Terrell Pettiway, brings this claim against Defendant Dixon and each of


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Defendant Unknown Correctional Officers (whose identity presently is unknown to

Plaintiff) for depriving Mr. Pettiway of the right to treatment for aserious medical

need in violation of the Eighth Amendment, applicable to the State of Alabama

through the Due Process Clause of the Fourteenth Amendment.

       148.   Defendant Dixon and each of Defendant Unknown Correctional

Officers (as defined above), while acting under color of state law, acted recklessly

or intentionally in depriving Mr. Pettiway of his rights under the Eighth Amendment

to the United States Constitution.          Defendant Dixon and each of Defendant

Unknown Correctional Officers knew of or should have known that Mr. Pettiway

was in serious need of medical treatment after being attacked, and failed to obtain

medical treatment for him or take steps to warn others that Mr. Pettiway needed

medical attention. Given the severity of Mr. Pettiway's wounds, his medical need

was so obvious that even alay person would easily recognize the necessity for a

doctor's attention.

       149.   Defendant Dixon and each of Defendant Unknown Correctional

Officers delayed medical treatment to Mr. Pettiway, leaving his fellow inmates to

transport him to prison facilities and to perform CPR, as they knew they were

required to provide. The immediate failure to provide treatment, and the delay in

bringing Mr. Pettiway to the hospital, resulted in his death after being brutally

stabbed by afellow inmate or inmates.
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       150.   The clearly-established law setting forth the rights of Mr. Pettiway and

other individuals incarcerated in Alabama included, without limitation, binding

precedent of the Eleventh Circuit and the Supreme Court, e.g., Brown v. Johnson,

387 F.3d 1344, 1351 (11th Cir. 2004) (finding it "well established that 'deliberate

indifference to serious medical needs of prisoners constitutes the 'unnecessary and

wanton infliction of pain'    .   .   .   proscribed by the Eighth Amendment.") (quoting

Estelle v. Gamble, 429 U.S. 97, 104 (1976) (emphasis added)); "[d]eliberate

indifference can be manifested by prison personnel intentionally denying or

delaying access to medical care." Estelle, 429 U.S. at 104-05.; Mandel v. Doe, 888

F.2d 783, 788 (11th Cit. 1989) ("This Court has consistently held that knowledge

of the need for medical care and intentional refusal to provide that care constitute

deliberate indifference.").

       151.   Plaintiff seeks compensatory and punitive damages due to the

deliberate indifference of Defendant Dixon and each and every Defendant

Unknown Correctional Officers, in an amount to be determined by the jury, together

with interest, attorneys' fees, and the costs of this action.




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                                   COUNT THREE
                                Ala. Code §6-5-410
                                  Wrongful Death
                              (Against All Defendants)

       152.   Plaintiff incorporates by reference each and every allegation contained

in paragraphs 1-128 as if set forth fully herein.

       153.   Plaintiff brings this cause of action under Alabama Code §6-5-410, as

the Personal Representative of the Estate of Decedent Terry Terrell Pettiway.

       154.   The wrongful act, omission, or negligent conduct of each Defendant,

as described in detail above, caused the death of Mr. Pettiway while incarcerated at

the St. Clair Prison.

       155.   Each and every Defendant had aduty to protect Mr. Pettiway from

known and unreasonable risks of serious harm, including homicide, by another

inmate.

       156.   Given the culture of violence at St. Clair well documented in the media and

in court documents, and known to each and every Defendant, risk of inmate-on-inmate

homicide at St. Clair was foreseeable.

       157.   Each and every Defendant consciously disregarded the known risk of

harm to Mr. Pettiway by failing to respond in an objectively reasonable manner to

reduce said risk of harm at St. Clair.




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       158.   Specifically, and without limitation,         each of Defendants Dunn,

Culliver, Ellington, Jones, Estes, Givens, Brooks, Specks, White, Malone, Jones,

Dixon, Santa-Maria, and each of the Unknown Shift Commanders, within the

respective authority of each as a supervisor, had knowledge and notice of the

widespread history of inmate-on-inmate violence, prevalence of contraband,

weapons, corruption, lack of supervision, blind spots and faulty locks at St. Clair.

       159.   With such knowledge and on such notice, each of Defendants Dunn,

Culliver, Ellington, Jones, Estes, Givens, Brooks, Specks, White, Malone, Jones,

Dixon, Santa-Maria, and each of the Unknown Shift Commanders, failed to take any

action reasonably calculated to correct these barbaric and inhumane conditions.

       160.   Each of Defendants Dunn, Culliver, Ellington, Jones, Estes, Givens,

Brooks, Specks, White, Malone, Jones, Dixon, Santa-Maria, and each of the Unknown

Shift Commanders, failed to enact or follow reasonable policies and procedures

designed to provide adequate security and supervision; failing to properly staff the

St. Clair Prison with prudent and well-trained correctional officers; failed to address

known security deficiencies, such as lack of intercoms, operative security cameras,

and mirrors; and exacerbated the risk and condoned the conduct and conditions

creating this substantial risk of serious harm at St. Clair Prison.

       161.   In addition, and despite having knowledge of the substantial risk of

serious harm posed by inmate-on-inmate violence at St. Clair, each of the Defendant
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Unknown Correctional Officers (whose identity presently is unknown to Plaintiff)

stationed in the vicinity of the Yard and Mr. Pettiway's housing block on the day of

Mr. Pettiway's murder either recklessly failed to monitor the Yard and the housing

block, or deliberately ignored the murder while it was happening.

       162.   Because of the relationship between the Defendants and Mr. Pettiway,

as well as the foreseeability of the harm that ultimately befell Mr. Pettiway, each

and every Defendant is liable for the criminal acts of the third-party assailant or

assailants.

       163.   As adirect and proximate result of the wrongful conduct of each and

every Defendant, Mr. Pettiway was brutally stabbed to death by another inmate on

the porch of the PIQ housing unit.

       164.   Plaintiff seeks punitive damages in an amount to be determined by the

jury, together with interest, reasonable attorneys' fees, and the costs of this action.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Carrie Jean Huffinan, as Personal Representative of

the Estate of Terry Terrell Pettiway, Deceased, respectfully requests that the Court:

       (a)    grant judgment in Plaintiff's favor on each of Counts One, Two, and

              Three asserted herein;

       (b)    award compensatory damages against each Defendant, jointly and

              severally, in an amount to be determined;
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      (c)    award punitive damages against each Defendant, jointly and severally;

      (d)    award reasonable attorneys' fees and the costs of litigation; and

      (e)    award such other and further relief as the Court may deem just, proper,

             and equitable.

                                    JURY DEMAND

      Plaintiff hereby demands atrial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

      Respectfully submitted this 2nd day of November, 2020.

                                        s/Laura S. Gibson
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                                  Huffman, as Personal Representative of the
                                  Estate of Terry Terrell Pettiway, Deceased




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                         CERTIFICATE OF SERVICE


      This certifies that Ihave this day served atrue and correct copy of
the within and foregoing First Amended Complaint with the Clerk of the
Court using the CM!ECF system, which will automatically send e-mail
notification of such filing to the following counsel of record:


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     This 21   day of November, 2020.


                                    s/Laura S. Gibson
                                    Laura S. Gibson
                                    Alabama Bar No. 8271-074L




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